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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF TEXAS

EL PASO DIVISION

EMILIO GUTIERREZ-SOTO and
OSCAR GUTIERREZ-SOTO,

Petitioners,
v.

JEFFERSON SESSIONS III, in his ojicial
capacity as Attorney General of the United
States; KIRSTJEN NIELSEN, in her
official capacity as Secretary of US.
Department of Homeland Security,'
THOMAS HOMAN, in his official capacity
as Director of U.S. Immigrations and
Customs Enforcement,' WILLIAM JOYCE,
in his ojj‘icial capacity as Acting El Paso
Field office Director for U.S. Immigration
and Customs Enforcement,' and UNITED
STATES DEPARTMENT OF
HOMELAND SECURITY,

Respondents.

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EP-lS-CV-00071-DCG

ORDER GRANTING LIMITED DISCOVERY

Presently before the Court is Petitioners Ernilio Gutierrez-Soto and Oscar Gutierrez-

Soto’s “Motion for Order to ShoW Cause and Telephone Conference for Discovery” (“Motion”)

(ECF No. 44) filed on July 18, 2018. Therein, Petitioners request a telephone conference to

discuss discovery issues in the case and an order to show cause requesting a response from

Respondents as to why they should not provide discovery. Mot. at 4-5. The Court’s policy is to

not conduct conferences by telephone, so the Court will deny that request. However, the Court

agrees that Petitioners are entitled to limited discovery in this matter. Rule 6(a) of the Rules

Goveming Section 2254 Cases in the United States District Courts states: “A judge may, for

good cause, authorize a party to conduct discovery under the Federal Rules of Civil Procedure

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and may limit the extent of discovery.”l See also Momennia v. Estrada, No. 3-03-0525-1\/1, 2003
WL 21318323, at **1-2 (N.D. Tex. May 21, 2003) (fmding limited discovery to be warranted
under Rule 6(a) in a Section 2241 habeas case). “Good cause exists ‘where specific allegations
before the court show reasons to believe that the petitioner may, if the facts are fully developed,
be able to demonstrate that he is . . . entitled to relief.”’ Id. at *1 (quoting Bracy v. Gramley, 520
U.S. 899, 908-09 (1997)). Here, Petitioners have made specific allegations articulating why they
might be entitled to relief and why limited discovery is necessary. See Mot. at 3-4. In
accordance with the above, the Court enters the following orders:

IT IS ORDERED that Petitioners Emilio Gutierrez-Soto and Oscar Gutierrez-Soto’s
request for a telephone conference is DENIED.

IT IS FURTHER ORDERED that Petitioners Emilio Gutierrez~Soto and Oscar
Gutierrez-Soto’s request for limited discovery is GRANTED IN PART AND DENIED IN
PART. The Court GRANTS the following discovery requests:

1) A list identifying any and all people who participated in authoring, determining the criteria
for, compiling, or otherwise creating the Non~Detained Target List;

2) A copy of Petitioners Emilio and Oscar Gutierrez-Soto’s complete A-Files with no redactions;
and

3) Copies of all documents, including but not limited to emails, related to Petitioners’ detention
(this includes, but is not limited to, documents and correspondence exchanged between members
of the Texas ICE office and documents and correspondence between members of the Texas ICE
office and any members of the Department of Homeland Security and Department of Justice).

The Court DENIES the following discovery requests:

 

' Rule l(b) also provides: “The district court may apply any or all of these rules to a habeas
corpus petition not covered by Rule l(a).” Thus, Rule 6(a) also applies to the instant cause, a Section
2241 habeas case.

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l) A list of witnesses that Respondents will call at the August_l hearing, along with their

locations and copies of their curriculum vitae;
2) A complete and unredacted copy of the “Target List” email chain; and
3) A list identifying any and all people Who received the Non-Detained Target List.
IT IS FI_NALLY ORDERED that Respondents shall PRODUCE the ordered discovery

by July 27, 2018. If the ordered discovery reveals any information relevant to Petitioners’ reply

brief, Petitioners may FILE an addendum to their reply brief by July 30, 2018.

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so oRDERED and sIGNED this 20 day of July 2018.

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TAVID C. GUhD`ERRAMA'
UNITED sTATEs DISTRICT JUDGE

